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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


PHILADELPHIA INDEMNITY INS. CO., et al.
       Plaintiffs,
       v.                                                        Civil No. JRR-22-00005
MARKEL INS. CO., et al.,
       Defendants.


                                           ORDER
   This matter comes before the court on Defendant Markel Insurance Company’s (“MIC”)

Motion to Dismiss Count III of Plaintiffs’ Complaint for Breach of Contract and Declaratory

Judgment or, Alternatively, Dismiss or Stay as Premature (ECF 7; the “Motion”). The court has

considered all papers submitted. No hearing is necessary. Local Rule 105.6 (D. Md. 2021). For

the reasons set forth in the accompanying memorandum opinion, it is this 13th day of May 2022,

   ORDERED that the Motion shall be, and is hereby, GRANTED; and further it is

   ORDERED that Count III of the Complaint (ECF 1) is DISMISSED WITHOUT

PREJUDICE. The case shall proceed on Counts I and II.


                                                          __________/s/_______________
                                                          Julie R. Rubin
                                                          United States District Judge
